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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

THE CHURCH OF JESUS CHRIST OF
LATTER-DAY SAINTS,

                      Plaintiff,                       MEMORANDUM DECISION AND
                                                         ORDER ON MOTIONS FOR
v.                                                        SUMMARY JUDGMENT

NATIONAL UNION FIRE
INSURANCE COMPANY OF                                     Case No. 2:21-cv-00582-TC-CMR
PITTSBURGH, PA; and ACE
PROPERTY AND CASUALTY
INSURANCE CO.,                                            District Judge Tena Campbell
                                                        Magistrate Judge Cecilia M. Romero
                      Defendants.


       The Plaintiff in this action, The Church of Jesus Christ of Latter-day Saints (the Church),

maintains that Defendants National Union Fire Insurance Company of Pittsburgh, Pennsylvania

(National Union) and ACE Property and Casualty Insurance Company (ACE) were obligated to

defend and indemnify the Church for certain losses stemming from a separate lawsuit involving

sexual abuse by a Church member that resulted in a large settlement between the Church and

several different children and their families. The Church has asserted claims for breach of

contract and breach of the implied covenant of good faith and fair dealing, as well as a request

for declaratory judgment under 28 U.S.C. § 2201.

       Before the court are cross motions for summary judgment. (ECF Nos. 42–43, 47, 50.)

The Church has moved for summary judgment on its claim for declaratory judgment against both

National Union and ACE, and the Defendants have moved for summary judgment on all claims

the Church asserts against them. For the reasons stated below, the court denies the Church’s

motions and grants the Defendants’ motions.
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                                        BACKGROUND

       The parties dispute the extent to which the Defendants must defend and indemnify the

Church for a settlement that the Church paid to victims who were sexually abused by Church

member Michael Jensen between 2007 and 2012. During that period, the Defendants insured the

Church under successive commercial umbrella liability policies. National Union insured the

Church under a policy in effect from June 15, 2006, to June 15, 2007. (National Union Policy,1

ECF No. 56-2 at 2.) 2 ACE issued six policies to the Church—each lasting about a year 3—from

June 15, 2007, to April 1, 2013. (ACE 2007 Policy, ECF No. 56-3; ACE 2008 Policy, ECF

No. 56-4; ACE 2009 Policy, ECF No. 56-5; ACE 2010 Policy, ECF No. 56-6; ACE 2011 Policy,

ECF No. 56-7; ACE 2012 Policy, ECF No. 56-8.) The Church seeks coverage under National

Union’s 2006 policy and ACE’s 2007 through 2011 policies. 4

    I. Underlying Litigation

       On September 16, 2013, 12 minors and their parents sued the Church in West Virginia

state court. (W. Va. Compl., Ex. 1 to Decl. Haley Krug, ECF No. 44-1 at ¶¶ 10–33.) The



1
  National Union is a subsidiary of AIG. See AIG Legal Notice, http://www.aig.com/legal-notice
(last visited Mar. 27, 2025).
2
  Record citations are to exhibit PDF pages rather than internal document pages. Redacted
versions of the relevant insurance policies are publicly available as attachments to the Church’s
redacted motions for summary judgment. (See Pl.’s Mot. Summ. J. against Nat’l Union, ECF
No. 42; Pl.’s Mot. Summ. J. against ACE, ECF No. 43.)
3
 The ACE 2007 Policy was in effect from June 15, 2007, to June 15, 2008. (ECF No. 56-3 at 2.)
The ACE 2008 Policy was in effect from June 15, 2008, to April 1, 2009. (ECF No. 56-4 at 2.)
The remaining polices were in effect from April 1 of the policy year to April 1 of the subsequent
year. (ECF No. 56-5 at 2; ECF No. 56-6 at 2; ECF No. 56-7 at 2; ECF No. 56-8 at 2.)
4
  The Church is not seeking coverage under ACE’s 2012 policy. (Pl.’s Mot. Summ. J. against
ACE, ECF No. 56-1 at 16.) The 2012 policy, unlike the other ACE policies, clarified that the
retained limit for coverage of sexual abuse and molestation claims was “           each
claimant.” (ACE 2012 Policy, ECF No. 56-8 at 54, 62 (emphasis added).) The court discusses
this clarification in more detail below.

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plaintiffs also sued Michael Jensen, who was in his teens and early twenties when the abuse

occurred; Donald Fishel, the Bishop of the Hedgesville Ward of the Martinsburg, West Virginia

Stake; 5 Steven Grow, the Martinsburg Stake President; Christopher Jensen, a Church High Priest,

High Council Member of the Martinsburg Stake, and Michael Jensen’s father; and Sandra Lee

Jensen, the Martinsburg Stake Relief Society President and Michael Jensen’s mother. (Id. ¶¶ 34–

42.) Another minor plaintiff and additional causes of action against Michael Jensen were added

to the litigation in February 2014. (W. Va. Am. Compl., Ex. 2 to Krug Decl., ECF No. 44-2

at ¶¶ 36, 216–22, 229–34.)

       The plaintiffs in the West Virginia case alleged that the defendants were negligent for

failing to warn Church families about Michael Jensen’s history of child sexual abuse, holding out

Mr. Jensen’s babysitting services for Church families, coordinating Mr. Jensen’s living

arrangements with Church families with minor children, failing to report a reasonable suspicion

of child sexual abuse, failing to properly supervise and train Church agents, and failing to protect

the minor plaintiffs from harm. (Id. ¶¶ 122–82.) The plaintiffs alleged that the Church received

several warnings about Michael Jensen’s sexual abuse of minors during the relevant period. (Id.

¶¶ 78, 82–85, 89, 92–99, 106–07, 116.) About two months before the plaintiffs filed the West

Virginia lawsuit, a judge sentenced Mr. Jensen to 35–75 years in state prison, followed by




5
  “At the local level, the Church is divided into ‘wards’ and ‘stakes.’ A ‘ward’ is a congregation
of 200 to 500 members. There are around 31,000 wards in the Church. A ‘stake’ consists of 5
to 12 wards. There are roughly 3,500 stakes in the Church.” (Decl. Branden Wilson, ECF
No. 45 at ¶ 4.) Council members, relief society leaders, high priests, “[s]take presidents and
bishops have no policy-making authority for the Church.… They are part-time local volunteers.
The Church has no paid clergy at the local level.” (Id.)

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50 years of probation, and ordered him to register as a sex offender. 6 (Id. ¶ 120.) He is

currently serving that sentence. 7

       In 2018, the parties to the underlying litigation reached a settlement agreement. (Email

from Paul Rytting to David Humphreys, et al., Apr. 2, 2018, Ex. 18 to Decl. Amy Klie, ECF

No. 54-16.) The Church compensated nine of the minor plaintiffs and their parents. 8 (Id.) The

settlement amounts for the plaintiffs ranged from             to            . (Id.) In total, the

Church paid                to settle the plaintiffs’ claims. (Id.) At a hearing on the motions for

summary judgment, counsel for the Church informed the court that the case represented the

largest settlement ever paid by the Church to sexual abuse victims and that the loss was

catastrophic for the Church.

       But the minor plaintiffs and their families also suffered devastating losses from Mr.

Jensen’s abuse. From 2006 to 2007, while National Union’s policy was in effect, Mr. Jensen

babysat and abused P.C. (W. Va. Am. Compl. ¶¶ 79–81.) P.C. received a settlement of

           , and her parents received           . (ECF No. 54-16.) In November 2007, while

ACE’s 2007 policy was in effect, Mr. Jensen babysat and abused siblings J.T. and W.T. (W. Va.

Am. Compl. ¶ 87.) J.T. and W.T. each received settlements of                 , while their parents

received           . (ECF No. 54-16.) From March to April 2008, also during the time the

Church was covered by ACE’s 2007 policy, Mr. Jensen babysat and abused Z.W. and forced



6
 On October 18, 2022, authorities had charged Mr. Jensen with two counts of first-degree sexual
assault and two counts of first-degree sexual abuse by a custodian. (W. Va. Am. Compl. ¶ 118.)
A jury found him guilty on three of the four courts. (Id. ¶ 119.)
7
 See WV Division of Corrections & Rehabilitation Offender Search,
https://dcr.wv.gov/offendersearch/Pages/default.aspx (last visited Mar. 27, 2025).
8
 The other minor plaintiffs voluntarily dismissed their claims before the parties settled. (See W.
Va. Dkt., Ex. 4 to Krug Decl., ECF Nos. 44-4 & 57-1.)

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Z.W.’s brother, A.W., who has special needs, to watch. (W. Va. Am. Compl. ¶¶ 90–91.) Z.W.

received              as compensation, A.W. received              , and their mother received

           . (ECF No. 54-16.) In February 2009, while ACE’s 2008 policy was in effect, Mr.

Jensen abused C.H. (W. Va. Am. Compl. ¶ 101.) C.H. settled for               , and her parents

settled for          . (ECF No. 54-16.) Finally, Mr. Jensen abused A.B. and her three siblings

between April 2010 and “the middle of 2011[.]” (W. Va. Am. Compl. ¶¶ 102–03.) A.B.

received              and the Church settled with A.B.’s parents for          . (ECF No. 54-16.)

    II. Relevant Policy Language

        National Union’s policy requires it to pay on the Church’s behalf “th[e] sums in excess of

the Retained Limit that the [Church] becomes legally obligated to pay as damages by reason of

liability imposed by law because of Bodily Injury … to which this insurance applies ….” (ECF

No. 56-2 at 4.) The Retained Limit for National Union’s general liability coverage is

“              EACH OCCURRENCE[.]” (Id. at 79.) Although similar to a deductible, National

Union points out that a retained limit does not obligate an insurer to undertake an insured’s

defense until after the insured has satisfied the retained limit. (Nat’l Union Mem. Opp’n, ECF

No. 70 at 15–16.)

        National Union’s policy has other limits to coverage. “Th[e] policy applies, only if:

1. the Bodily Injury … is caused by an Occurrence that takes place anywhere, and the Bodily

Injury … occurs during the Policy Period[.]” (ECF No. 56-2 at 4.) “Bodily injury” is defined as

“bodily injury, sickness or disease sustained by any person, including death, mental anguish,

mental injury, shock or humiliation resulting from any of these at any time.” (Id. at 33.) The

policy defines “occurrence” as “an accident, including continuous or repeated exposure to




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substantially the same general harmful conditions. All such exposure to substantially the same

general harmful conditions will be deemed to arise out of one Occurrence.” (Id. at 23.)

          Similarly, ACE’s policies obligate it to pay on the Church’s behalf “sums in excess of the

‘retained limit’ that the [Church] becomes legally obligated to pay as damages because of ‘bodily

injury’ … to which this insurance applies.” (ECF No. 56-3 at 5.) 9 The “retained limit”

applicable to the ACE policies’ commercial general liability coverage is                for “Each

Occurrence[.]” (Id. at 30.)

          ACE’s coverage only applies to “bodily injury” that “is caused by an ‘occurrence’” and

“occurs during the ‘policy period[,]’” and when, “[p]rior to the ‘policy period’, no ‘insured’ and

no ‘employee’ authorized by [the insured] to give or receive notice of an ‘occurrence’ or claim,

knew that the ‘bodily injury’ … had occurred, in whole or in part.” (Id. at 5.) “Bodily injury” is

defined as “bodily injury, sickness or disease sustained by a person, including death resulting

from any of these at any time. ‘Bodily injury’ includes mental anguish or mental injury resulting

from bodily injury.” (Id. at 19.) “Occurrence” means “an accident, including continuous or

repeated exposure to substantially the same general harmful conditions. All such exposure to

substantially the same general conditions shall be considered as arising out of the same

‘occurrence’, regardless of the frequency or repetition thereof, or the number of claimants.” (Id.

at 21.)

          The Church and the insurers dispute how to interpret the term “occurrence” as it is used

in the policies. This dispute affects whether the Church exhausted the policies’ applicable




9
 The policy language included in this section, from ACE’s 2007 policy, is not meaningfully
different from the language in ACE’s 2008 to 2011 policies.

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retained limits and, as a result, whether the insurers were obligated to provide general liability

coverage under any policy at issue.

                                       LEGAL STANDARD

       A court “shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). Material facts are those that might affect the outcome of the case. See Birch v.

Polaris Indus., Inc., 812 F.3d 1238, 1251 (10th Cir. 2015) (“Only disputes over facts that might

affect the outcome of the suit under the governing law will properly preclude the entry of

summary judgment.”). Once the movant shows there is an “absence of a genuine [dispute] as to

any material fact,” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986), the burden shifts to the

nonmoving party to “set forth specific facts showing that there is a genuine issue for trial.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “[S]ummary judgment will not lie if

the dispute about a material fact is ‘genuine,’ that is, if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Id. (citation omitted).

       “The construction of an insurance contract is a matter of law that the court can resolve in

the context of a motion for summary judgment.” Hartford. Acc. & Indem. Corp. v. U.S. Fidelity

& Guar. Co., 765 F. Supp. 677, 679 (D. Utah 1991) (citing Adams-Arapahoe Joint Sch. Dist. v.

Cont’l Ins. Co., 891 F.2d 772, 774 (10th Cir. 1989)). Construction of an insurance contract

remains a question of law even where parties disagree about what the contract means. Id. (citing

Gomez v. Am. Elec. Power Serv. Corp., 762 F.2d 649, 651–52 (10th Cir. 1984)).

       The parties agree that Utah substantive law governs this case. See Erie R. Co. v.

Tompkins, 304 U.S. 64, 78–79 (1938) (holding that when cases come before federal courts

through diversity jurisdiction, federal courts apply the substantive law of the state where they



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sit). But “[i]f the state’s highest court has not addressed the issue presented, the federal court

must determine what decision the state court would make if faced with the same facts and issue.”

Armijo v. Ex. Cam, Inc., 843 F.2d 406, 407 (10th Cir. 1988) (noting that to predict what a state’s

highest court would do, federal courts should consider “state court decisions, decisions of other

states, federal decisions, and the general weight and trend of authority”).

       Because an insurance policy is a contract, the court will “first look at the plain language

of the contract to determine the parties’ meaning and intent.” Brady v. Park, 445 P.3d 395, 407

(Utah 2019) (cleaned up). If the contract’s language is unambiguous, “the parties’ intentions are

determined from the plain meaning of the contractual language, and the contract may be

interpreted as a matter of law.” Id. (citation omitted). Ambiguities in insurance contracts should

be construed in favor of coverage. See U.S. Fidelity & Guar. Co. v. Sandt, 854 P.2d 519, 521

(Utah 1993) (“Since 1921 this Court has expressed its commitment to the principle that

‘insurance policies should be construed liberally in favor of the insured and their beneficiaries so

as to promote and not defeat the purposes of insurance.’” (citations omitted)).

                                             ANALYSIS

   I. Duty to Indemnify

       The court first analyzes whether the insurers had a duty to indemnify the Church for any

portion of the settlement it paid to the victims of Mr. Jensen’s abuse. Because the relevant

policies require the Church to exhaust its               retained limit for “each occurrence” that

arises under the policy, the court must determine how many “occurrences” arose from the

underlying facts of each child’s abuse. The more occurrences, the more retained limits the

Church must exhaust, and the greater the loss the Church must bear out of pocket before

insurance coverage begins. The Utah Supreme Court has not considered how to interpret the



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word “occurrence” in an insurance policy in any context, let alone in a case involving sexual

abuse. 10 Accordingly, the court must predict how the Utah Supreme Court would answer this

question if faced with similar facts.

       A. The Parties’ Positions

       The Church argues that there is only one occurrence at issue here—namely, the Church’s

negligence, which lasted several years, and for which the Church paid a settlement of

             to a number of children and their families. 11 (Pl.’s Mot. Summ. J. against Nat’l

Union, ECF No. 56 at 23–26.) The Church also contends that the insurance policies permit the

Church to satisfy “a single retained limit [that] applies across [all] policies.” (Id. at 33–34.) The

Church maintains that because the overall settlement was in excess of the                 retained

limit, the Defendants are required to indemnify the Church for a portion of this excess amount

(            ). 12

       To determine the amount owed to the Church under each policy, the Church argues that

the court should apportion the               retained limit across the policies—even when those

policies were issued by different insurers—based on the amount of loss that occurred during each

period. (See id. at 33–35 (“[W]hen you have a single retained limit per occurrence, but the



10
   Although Utah courts have considered closely related questions in the insurance context, the
court finds that these cases are all distinct and therefore do not answer the question about how
many occurrences arose from the facts presented here. See, e.g., N.M. ex rel. Caleb v. Daniel E.,
175 P.3d 566 (Utah 2008) (interpreting the meaning of “accident” in an insurance policy); Taylor
v. Am. Fire & Cas. Co., 925 P.2d 1279 (Utah Ct. App. 1996) (interpreting a coverage exclusion
for incidents involving motor vehicles).
11
 The total “loss” to the Church in this case was          , the value of the settlement. (ECF
No. 51-18.) “Loss means those sums actually paid as judgments or settlements[.]” (ECF
No. 56-2 at 64.)
12
  As noted above, see supra note 4, the Church is not seeking coverage under ACE’s 2012
policy, so it is only seeking a portion of the total excess amount.

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 occurrence spreads across and triggers multiple policies, the … retained limit can be allocated to

 each triggered policy based on the amount of loss that occurred during that policy period.”).)

           The Church relies on PECO Energy Co. v. Boden, 64 F.3d 852, 854 (3d Cir. 1995) and

 similar cases. (ECF No. 42 at 26–28.) In PECO Energy, the plaintiff was an electric utility

 company (PECO) who discovered that a trucking company had been stealing a portion of the

 utility’s oil from 1984 to 1990, during which time PECO was covered by a succession of one-

 year insurance policies providing that $100,000 “shall be deducted from the amount of each loss

 or combination of losses arising out of any one occurrence ….” Id. at 854–55. The Third Circuit

 agreed with the district court’s finding that “the multitude of thefts over the six-year period

 constituted a single occurrence.” 13 Id. at 855–56. But the Third Circuit overturned the district

 court’s decision placing the total liability for PECO’s losses on the underwriters for the policy

 covering the year in which PECO discovered the thefts, finding that “the policies in this case are

 ‘all risks’ policies, not ‘occurrence’ policies, and provided coverage for all losses which took

 place during the policy period.” Id. at 856. Based on this finding, the Third Circuit calculated

 the utility’s recovery under each one-year policy by determining the loss that PECO sustained

 during that period, calculating that loss as a percentage of the total insured loss, applying that

 percentage to the deductible, and subtracting that number from the loss for that period. See id.

 at 857.




 13
   Notably, the jury in the district court case found that PECO did not discover the theft until six
 years after the theft began. See PECO Energy, 64 F.3d at 856. Accordingly, the Third Circuit
 characterized the larger scheme as “the proximate and continuing cause of a series or
 combinations of thefts ….” Id. As the court discusses below, the Church received several
 warnings about Mr. Jensen’s actions and cannot claim that it was similarly unaware of the
 underlying abuse.

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         Following this approach, the Church calculates the following recoveries for each year in

 which a child or multiple children were abused:

  Policy   Plaintiffs     Indemnity Insurer Percentage            Amount of          Recovery
                          Payment           of Total              Retained Limit
                                            Loss                  Based on
                                                                  Percentage of
                                                                  Total Loss
  2006     P.C.                         AIG
           P.C. Parents

  2007     J.T.                         ACE
           W.T.
           T. Parents
           Z.W.
           A.W.
           W. Parents
  2008     C.H.                         ACE
           C.H. Parents
  2011 14 A.B.                          ACE
          A.B. Parents
  2012    M.S.                          ACE
          T.S.
          S. Parents


 (ECF No. 56 at 35–36.) The Church asks the court to declare that the insurers had a duty to

 indemnify and defend the Church for its legal costs in the underlying lawsuit according to the

 recovery amounts listed above. (Id.) Finally, the Church argues that none of the insurers’

 coverage exclusions (Exclusions I, U, and K) bar recovery in this case. (Id. at 30–38.)

         The position taken by National Union and ACE is much simpler. The insurers argue that

 Mr. Jensen’s abuse of each minor plaintiff between 2007 and 2012 was a separate occurrence.


 14
   The court believes the Church meant to list ACE’s 2010 policy in this box, as the Church
 elsewhere states that A.B. was abused while ACE’s 2010 policy was in effect. (See, e.g., ECF
 No. 43 at 16, 33.)
 15
   The Church does not seek to recover this amount because, as discussed further below, it agrees
 that ACE’s 2012 policy does not cover any portion of the settlement.

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 (Nat’l Union Mot. Summ. J., ECF No. 50; ACE Mot. Summ. J., ECF No. 47.) And because the

 Church did not settle the claims of any minor plaintiff for more than               , the insurers

 maintain that the Church failed to exhaust the policies’ applicable retained limits and is therefore

 not entitled to coverage or indemnification for the costs of the underlying suit, mooting any

 arguments about the application of certain policy exclusions—which, in any event, the insurers

 maintain also operate to preclude coverage. (Id.)

        B. Relevant Policy Language

        Turning first to the policy language, both insurers’ policies require the exhaustion of a

 retained limit for “each occurrence.” National Union’s policy defines “occurrence” as “an

 accident, including continuous or repeated exposure to substantially the same general harmful

 conditions. All such exposure to substantially the same general harmful conditions will be

 deemed to arise out of one occurrence.” (ECF No. 56-2 at 23.) ACE’s policy similarly defines

 “occurrence” as “an accident, including continuous or repeated exposure to substantially the

 same general harmful conditions. All such exposure to substantially the same general conditions

 shall be considered as arising out of the same ‘occurrence’, regardless of the frequency or

 repetition thereof, or the number of claimants.” (ECF No. 56-3 at 21.)

        The Church argues that the abuse suffered by Mr. Jensen’s victims arose out of the same

 general harmful conditions—namely, the Church’s negligence. The Church points to the

 language in ACE’s policy especially, which highlights that multiple claimants may be exposed to

 the conditions arising out of one occurrence, “regardless of the frequency or repetition” of those

 conditions.

        The court finds that the Church’s interpretation of the policy language reaches too

 broadly, because it disregards how the Church’s negligence evolved over time. It is undisputed



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 that Church leaders received multiple warnings about Mr. Jensen’s sexual misconduct. There is

 evidence that at least some of the underlying defendants knew as early as 2004 or 2005 that Mr.

 Jensen sexually abused minor children, well before P.C. was abused in April 2007. (W. Va.

 Appellants’ Brief, Ex. B to ACE Resp., ECF No. 64-1 at 11 n.3 (“Michael, at age 18, was caught

 on top of his younger sister K.J., then 12, on her bed”).) And after P.C.’s 2007 abuse, “Church

 officials were on notice that Michael Jensen had at least abused his younger sister and had done

 something bad to P.C. that had, in the words of Stake High Councilor Jensen, ‘scarred her for

 life.’” (W. Va. Am. Compl. ¶ 83.) “By 2007, at the latest, the Martinsburg Stake High Council

 met to discuss various matters, including Michael Jensen’s abuse of his younger sibling … and

 possible abuse of another minor child who was also a member of the Church’s Martinsburg

 Stake.” (Id. ¶ 83.) “[Around] this same time, because of the severity of the situation concerning

 the alleged abuse, Stake President Grow discussed the situation with [other Stake leaders.]” (Id.

 ¶ 84.)

          Between 2007 and 2011—the relevant time period for this case—, Church officials had

 multiple opportunities to intervene and prevent some, if not all, of the abuse. (See id. ¶¶ 93–97,

 100–01 (alleging that after brothers Z.W. and A.W. were abused, their parents contacted Bishop

 Fishel, who defended Mr. Jensen and took no action to prevent Sandralee Jensen from continuing

 to offer her son’s babysitting services); see also id. ¶¶ 86, 90, 101 (explaining how Mrs. Jensen

 continued to hold out Mr. Jensen’s babysitting services and Church officials did nothing).) The

 number of warnings the Church received about Mr. Jensen throughout the relevant period

 suggests that the Church’s inaction became more egregious over time as the allegations increased

 in frequency. As a result, the Church’s negligence did not amount to “the same general harmful




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 conditions” (ECF No. 56-2 at 23) or “the same general conditions” (ECF No. 56-3 at 21) because

 it was not one uninterrupted, proximate, and continuing cause of the victims’ abuse.

        The court therefore declines to adopt the Church’s argument that its negligence was one

 occurrence. Instead, the court finds that a separate occurrence arose every time Mr. Jensen

 abused separate children at separate times and in separate places. This interpretation of

 “occurrence” more accurately reflects the source of the Church’s loss under the policies.

 Although the court agrees with the Church that its negligence was the source of that loss, an

 admission or finding that the Church was negligent towards one child is not an admission or

 finding that the Church was negligent towards other children—the facts establishing the

 Church’s negligence are specific to each child.

        For this reason, an insured who negligently supervises a person who commits multiple

 acts of sexual abuse is distinct from an insured who negligently causes a hazardous waste spill or

 prepares contaminated food, thereby injuring multiple victims. In Republic Underwriters

 Insurance Co. v. Moore, for example, a restaurant prepared and served food that was

 contaminated with E. coli, infecting 341 people, and killing one. 493 F. App’x 907, 908 (10th

 Cir. 2012). The Tenth Circuit held that the “ongoing preparation of contaminated food”—even

 though the food was served in multiple locations and injured hundreds of people—constituted

 one occurrence. Id. at 913. But in Moore, the insured’s negligence was more clearly “one

 proximate, uninterrupted, and continuing cause” of the victims’ injuries. Id. at 911–12 (emphasis

 added). The contamination originated from one place—the restaurant—and occurred during an

 11-day period. See id. at 908–12. There does not appear to have been an opportunity for the

 restaurant to intervene between when the first victims and last victims fell ill.




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        By contrast, the children in this case were injured over several years, in different

 locations, and under different circumstances. The facts that establish whether the Church’s

 negligence was a cause of each child’s abuse are unique to each individual. Under the Church’s

 interpretation of “occurrence,” Mr. Jensen is akin to a bad driver whom the Church negligently

 hired and who injured multiple people in a single crash. But Mr. Jensen’s yearslong pattern of

 abuse of multiple children—and the warnings the Church received about that abuse—is more

 analogous to a bad driver who was negligently allowed back on the road over and over, despite

 repeated accidents.

        Based on the policy’s definition of “occurrence,” the court therefore predicts that the

 Utah Supreme Court would adopt a rule that the abuse of separate victims at separate times and

 in separate places presumptively constitutes multiple occurrences. But that rule does not answer

 every question posed by these facts, or by similar facts in other cases. For instance, the rule does

 not explain when the presumption may be overcome, nor does it dictate how many occurrences

 arose when Mr. Jensen abused multiple victims at the same time, or when he abused one victim

 several times over an extended period. To decide these questions, the court first reviews other

 court decisions that have considered similar issues.

        C. Relevant Caselaw

        Several courts have addressed whether a church’s negligence “constitute[s] multiple

 occurrences” when that negligence permits multiple acts of sexual abuse, sometimes spanning

 years. 16 Roman Catholic Diocese of Brooklyn v. Nat’l Union Fire Ins. Co. of Pittsburgh, 991

 N.E.2d 666, 671 (N.Y. 2013) (holding that abuse of different victims at different times


 16
   Unless otherwise specified, the cases discussed in this section concern policies in which the
 definition of “occurrence” does not differ meaningfully from the way that term is defined in the
 National Union and ACE policies.

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 constituted separate occurrences after employing an “unfortunate event test” requiring

 “consideration of whether there is a close temporal and spatial relationship between the

 incidents … and whether the incidents can be viewed as part of the same causal continuum

 without intervening agents or factors). The majority of courts agree with this court’s finding that

 when there are multiple victims, especially when those victims are abused at different times and

 places, the abuse of those victims presumptively constitutes multiple occurrences within the

 meaning of the relevant policy.

        In Worcester Insurance Co. v. Fells Acres Day School, Inc., for instance, the Supreme

 Judicial Court of Massachusetts (SJC) rejected the argument made by Worcester Insurance Co.

 (Worcester) that the molestation of numerous children by multiple insureds constituted a single

 occurrence. 558 N.E.2d 958, 973 (Mass. 1990). Worcester supported its argument by relying on

 cases holding “that in circumstances where many corporate employees suffered from a

 discriminatory corporate employment policy, there was but one ‘occurrence’: the adoption of a

 discriminatory policy.” Id. (citing Appalachian Ins. Co. v. Liberty Mut. Ins. Co., 676 F.2d 56

 (3d Cir. 1982), and Transport Ins. Co. v. Lee Way Motor Freight, 487 F. Supp. 1325, 1330 (N.D.

 Tex. 1980)). The SJC held that the facts before the court were “fundamentally different” from

 cases involving a single, problematic policy. Id. The court further noted that it had previously

 rejected attempts to “characterize seemingly discrete events as emanating from a single, ongoing

 cause” and found that, where the plaintiffs in the underlying litigation “allege[d] numerous

 discrete acts of abuse, negligence, and breach of duty by several different defendants, some

 individual and one corporate, at different locations[,] … the possibility that there was but a

 ‘single, ongoing cause’ of the injuries alleged” was foreclosed. Id.




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        The Fifth, Ninth, and Seventh Circuits have issued similar rulings. In H.E. Butt Grocery

 Co. v. National Union Fire Insurance Co. of Pittsburgh, the Fifth Circuit held that “two

 independent molestations of two children equal[ed] two occurrences.” 150 F.3d 526, 532 (5th

 Cir. 1998). After an H.E. Butt Grocery Co. (HEB) employee sexually assaulted two different

 children a week apart in a store bathroom, the families of the two children sued the store in

 separate lawsuits, alleging that “HEB knew that the same employee had committed an act of

 ‘untoward sexual conduct’ in the past with a different child at another store and that the sole

 corrective action taken was to transfer the employee to another store location.” Id. at 528. In a

 subsequent lawsuit against its insurer, HEB argued that it had satisfied its self-insured retention

 limit of “$1,000,000 per ‘occurrence’” because HEB had settled the two lawsuits for $1,000,000

 each and because both incidents of abuse arose “out of … substantially the same general

 conditions” and were therefore one occurrence: HEB’s negligent oversight of its employee. Id.

 at 528–29.

        The Fifth Circuit disagreed, finding that “it was clear that each child’s injuries [were]

 independent and caused by the separate acts of sexual abuse.” Id. at 534. The court therefore

 found that “two independent acts of sexual abuse injuring two children are two occurrences.” Id.

 at 535. 17 The Fifth Circuit also discussed its previous ruling in Society of Roman Catholic

 Church of Diocese of Lafayette & Lake Charles, Inc. v. Interstate Fire & Cas. Co., 26 F.3d 1359,

 1365 (5th Cir. 1994) (Catholic Church). In Catholic Church, the Fifth Circuit considered two

 separate questions: 1) how the definition of “occurrence” applied to the molestation of multiple



 17
   Although all members of the panel agreed with the outcome, two judges concurred, with one
 judge writing separately to express his disagreement with the framework used by his colleague.
 See id. at 535 (Wiener, J., concurring in the judgment only), 535–38 (Benavides, J., concurring).
 The court discusses this disagreement below, see infra § I.D.

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 victims; and 2) “whether multiple acts of sexual abuse on the same child constituted one or

 multiple occurrences.” Id. at 1364–66. The Fifth Circuit held that the molestation of separate

 children amounted to multiple occurrences, whereas the repeated molestation of one child

 resulted in one occurrence per policy period. Id. In H.E. Butt Grocery, the Fifth Circuit

 summarized this holding as follows:

           As the opinion in Catholic Church itself makes clear, the conclusion that multiple
           molestations of the same child is only one occurrence is easily distinguishable
           from the conclusion regarding separate acts of molestation of different children.
           Where an employee repeatedly molests the same child, each new act of abuse
           does not necessarily give rise to new liability for the employer. In the case at
           hand, however, HEB is exposed to new liability for each separate and independent
           act of molestation on a new child.

 150 F.3d at 533. The Fifth Circuit reached this conclusion even though it made no mention of

 whether HEB was aware of the first assault before the second act of abuse occurred. See id.

 at 528.

           The Ninth Circuit decided a case involving the Archdiocese of Portland, who received

 multiple reports over several years that one of its priests, Father Laughlin, was sexually

 molesting minors. Interstate Fire & Cas. Co. v. Archdiocese of Portland, 35 F.3d 1325, 1327

 (9th Cir. 1994). The dispute concerned the proper allocation of coverage between the

 Archdiocese, its primary insurer, and its excess insurer, for the settlement of a lawsuit between

 the Archdiocese and one of the victims of Father Laughlin’s abuse. Id. Although the district

 court held that Father Laughlin’s molestations of the plaintiff constituted one occurrence under

 the meaning of the policy, the Ninth Circuit reversed. Id. at 1328–29. The Ninth Circuit relied

 in part on policy language defining “occurrence” as “an accident … during the policy period”—a

 limitation that is not included in the National Union and ACE policies at issue in this case. Id.




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 But the ruling also relied in part on other language in the definition of “occurrence” that is

 similar to the definition of “occurrence” in the policies here:

        [T]he terms of the policy make clear that negligent supervision alone, whether
        ongoing or not, would not trigger any obligation on the part of the insurers.
        Rather, it is the repeated “exposure” of the boy to the negligently supervised
        priest, resulting in injury, that provides the basis for indemnification. Although
        the final sentence of the definition of “occurrence” speaks broadly of “general
        conditions existing at or emanating from one location,” the definition twice states
        unambiguously that it is “exposure” to such conditions, rather than the conditions
        themselves, that constitutes the occurrence.

 Id. at 1329. In other words, the Ninth Circuit considered both the immediate cause of the abuse

 (the child’s exposure to the abuser), as well as the Archdiocese’s negligent supervision that

 allowed that abuse to occur.

        Finally, the Seventh Circuit considered the proper allocation of a sexual abuse settlement

 between the Roman Catholic Diocese of Providence, Rhode Island, its primary insurer (Lloyd’s),

 and its excess insurer (Interstate). Lee v. Interstate Fire & Cas. Co., 86 F.3d 101, 102 (7th Cir.

 1996). The underlying lawsuit concerned a priest, William O’Connell, who sexually abused a

 boy in two distinct places during two different years in which the Diocese had insurance policies.

 Id. The Seventh Circuit criticized the argument made by Lloyd’s that the victim suffered “‘a

 continuous or repeated exposure to conditions’—that is, to O’Connell’s proclivities—and that

 repeated exposure to substantially the same general conditions’ can only be one ‘occurrence.’”

 Id. at 103. The Seventh Circuit further noted that it would be inappropriate to import concepts

 about “cause” from tort law to a case in which the tort was the negligent supervision of an

 intentional wrongdoer:

        “[C]ontinuous or repeated exposure to conditions” sounds like language designed
        to deal with asbestos fibers in the air, or lead-based paint on the walls, rather than
        with priests and choirboys. A priest is not a “condition” but a sentient being, and
        of course the victim was never “exposed” to the Diocese’s negligent supervision.



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 Id. at 104. The court suggested that Lloyd’s “depict[ed] a pedophilic priest as similar to

 hazardous waste: living next to a church from which oil has seeped into the ground is one

 ‘occurrence’ no matter how long the conditions exist.” Id. at 103.

        But the Seventh Circuit found that Rhode Island courts would not be inclined to adopt an

 all-or-nothing rule in which a church’s negligent supervision must be either one unitary act of

 negligence constituting one occurrence or multiple discrete acts constituting “one ‘occurrence’

 per priest, per abused child, per policy year.” Id. at 102, 104. Instead, the Seventh Circuit found

 that a decision on this question required a careful analysis of the facts at issue. See id. at 104–05.

 The court distinguished between an employer accused of negligent hiring, which “occurs only

 once per employee-employer pair[,]” and negligent supervision:

        If … a diocese receives multiple warnings about a priest’s misconduct and ignores
        all of them, it would be appropriate to call those lapses multiple occurrences—for
        intervention after any one of them could have avoided some of the injury. But if
        instead the diocese receives no danger signals, and its negligence lies in failure to
        investigate on its own (if that is negligence at all), or if the diocese intervenes but
        takes action that in retrospect is inadequate, then the lapse looks more like a
        single occurrence under the policy’s definition.

 Id. The court therefore held that Rhode Island courts would not treat negligent supervision as

 “invariably one ‘occurrence[.]’” Id. at 105.

        This court agrees with the nuanced, fact-specific approach adopted by the Seventh

 Circuit. The rule that the court has derived from the policies’ definition of “occurrence” is that

 the abuse of separate victims at separate times and separate places presumptively constitutes

 multiple occurrences. But this presumption can be overcome where the overarching negligence

 is more akin to negligent hiring. Here, where the Church received multiple warnings about the

 danger posed by Mr. Jensen, that presumption is not overcome.




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        The facts in Lee v. Insterstate Fire & Casualty Co. involved the repeated abuse of a single

 victim. Id. at 102. These scenarios are especially challenging because the difference between

 one and multiple occurrences for the purposes of an insurance policy hinges on a number of

 factual questions once the abuse of a single victim has been set in motion: “Did the Diocese

 receive warnings? How many, and when? Should the Bishop have been suspicious in the

 absence of warnings?” Id. at 105. And if a court finds that the abuse constituted multiple

 occurrences, the court must then determine how to apportion the settlement received by a victim

 across the period when the victim suffered that abuse.

        Perhaps to simplify these questions, some courts have held that a “child suffered an

 ‘occurrence’ in each policy period in which he was molested.” Catholic Church, 26 F.3d at 1365

 (emphasis added); see also Archdiocese of Portland, 35 F.3d at 1327 (finding that where a

 plaintiff was abused over multiple policy periods, “there [was a] distinct loss in each policy

 period” and therefore a distinct occurrence). But these cases are of limited value because, as the

 court noted above in its discussion of Archdiocese of Portland, the relevant policies specify that

 an “occurrence” is an accident that must take place during the policy period. 18 See Catholic

 Church, 26 F.3d at 1362; Archdiocese of Portland, 35 F.3d at 1329.

        Where such language is not present, the court finds that the appropriate approach when a

 victim has suffered repeated episodes of abuse over a period that spans successive insurance

 policies is to follow the Seventh Circuit’s guidance in Lee v. Interstate Fire & Casualty Co. and

 examine the facts of the underlying abuse to determine whether the insured’s actions were more

 akin to negligent hiring or negligent supervision. Relevant factors the court should consider


 18
   The requirement that an accident must take place during the policy period is not included in
 the policies here. Instead, both the National Union and ACE policies specify that it is the “bodily
 injury” which must occur during the policy period. (See ECF No. 56-2 at 4; ECF No. 56-3 at 5.)

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 include whether the episodes of abuse were closely related in time and location, as well as

 whether the insured had any warnings about the danger or the ability to prevent later abusive

 acts. But the court need not fully delineate an appropriate test for when a single victim has

 suffered repeat episodes of abuse because none of the victims who were abused by Mr. Jensen on

 multiple occasions settled their claims against the Church for an amount that exceeds the

 Church’s retained limit per occurrence under the policies. As a result, even if the court held that

 only one act of negligence led to the multiple instances of abuse suffered by, for instance, A.B.—

 the only child who was arguably abused during multiple policy periods 19—, the Church would

 not have exhausted its retained limit in settling with A.B.

        But the court’s clarification of its view of a case involving a single victim suffering

 multiple instances of abuse is useful to illustrate why the court is not persuaded by the cases the

 Church cites to support its argument. The court first analyzes two state court cases that

 considered similar insurance coverage questions where the insured was found liable for

 negligently allowing children to be molested. Notably, while these cases contain reasoning

 arguably favorable to the Church’s position in the context of a single victim who was abused

 multiple times, both courts nevertheless held that abuse suffered by different victims constituted

 multiple occurrences.




 19
   The Church and ACE agree that Mr. Jensen abused A.B. while ACE’s 2010 policy was in
 effect (see ECF No. 56-6 at 2 (listing effective dates as April 1, 2010, to April 1, 2011)). They
 also agree that no plaintiffs were injured under ACE’s 2011 policy, in effect April 1, 2011, to
 April 1, 2012 (see ECF No. 56-7). But the underlying complaint alleges that Mr. Jensen abused
 A.B. from April 2010 to the middle of 2011. (W. Va. Am. Compl. ¶ 102 (emphasis added).) In
 April 2011 (exact date unknown), Mr. Jensen also went on vacation with A.B.’s family to South
 Carolina. (Id. ¶ 103.) The underlying complaint, then, suggests that Mr. Jensen’s abuse of A.B.
 occurred during multiple policy periods.

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        First, the Church cites State Farm Fire & Casualty v. Elizabeth N. (ECF No. 56-1 at 29–

 30), in which the court held that “multiple instances of negligent care and supervision, which

 allowed several children to be repeatedly molested,” constituted one occurrence per child. 9 Cal.

 App. 4th 1232, 1234 (Cal. Ct. App. 1992). There, “State Farm insured Lynn Lynn under a

 homeowner’s policy that included coverage for personal liability to third parties.” Id. For about

 four years, Ms. Lynn offered childcare services at her home, where she lived with her husband,

 Byron. Id. at 1234–35. Parents of some of those children sued the Lynns after they discovered

 that Mr. Lynn had sexually abused their children while under Ms. Lynn’s care. Id. at 1235. The

 court held that “the multiple injuries suffered by each child resulted from repeated exposure to

 substantially the same general conditions” because “each act of negligence by [Ms.] Lynn was

 substantially the same[,]” even if Ms. Lynn’s repeated failures to stop the abuse could be

 considered new negligent acts. Id. at 1238. That reasoning does not necessarily diverge from

 the framework the court adopts here, as there was a question of fact about whether Ms. Lynn, the

 insured, had “any knowledge of Byron’s actions with the children.” Id. at 1234. And

 importantly, the State Farm holding is consistent with the outcome the court reaches here, that

 “the insured’s liability to each child was one occurrence.” Id. at 1234 (emphasis added). 20

        Similarly, a Pennsylvania state court held that an insured’s “failure to prevent … [sexual]

 abuse was a continuing negligence which constitute[d] only one occurrence under the policy

 language.” Gen. Accidental Ins. Co. of Am. v. Allen, 708 A.2d 828, 835 (Pa. Super. Ct. 1998).

 In Allen, three children, through their mother and natural guardian, sued Eugene and Elizabeth



 20
    During negotiations to conclude the lawsuit, the parties limited the remaining disputes by
 stipulation. Elizabeth N., 9 Cal. App. 4th at 1235. As a result, it appears that the court never
 considered arguments about whether multiple victims constituted multiple occurrences. The case
 therefore has limited applicability to the facts at issue here.

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 Allen, alleging that between 1986 and 1988 Mr. Allen sexually abused them in various ways. Id.

 at 829. The plaintiffs asserted negligence claims against Ms. Allen, arguing that she failed to

 prevent the abuse and allowed the children to be in Mr. Allen’s company when she knew or

 should have known that he was likely to abuse them. Id. at 829–31. Relying in part on

 Elizabeth N., 9 Cal. App. 4th at 1234, 21 the court held that Ms. Allen’s “continuing failure to

 prevent the child abuse was a single occurrence as to each child under the policy language.” Id.

 at 834. Again, the court found that each child’s abuse was a separate occurrence 22 even though

 the court was unwilling to find multiple occurrences per child based on Mr. Lynn’s different acts

 of abuse. Id. And it is again notable that the court did not discuss any facts demonstrating that

 Ms. Allen had knowledge of the risk her husband posed to the children.

        The Church has cited only one case in which a court held that one occurrence resulted

 from the abuse of multiple different children. 23 (ECF No. 42 at 24.) In Washoe County v.

 Transcontinental Insurance Co., over 40 children and their parents sued Washoe County for

 negligently licensing a day care center after the son of the owner, who was also an employee,

 sexually abused numerous children attending the day care center over a period of three years.

 878 P.2d 306, 307 (Nev. 1994). The Supreme Court of Nevada held that the “County ‘caused’

 the children’s injuries through its failure to act with the requisite care in the process of licensing



 21
   The court also cited the district court decision in Lee v. Interstate Fire & Casualty Co., 826 F.
 Supp. 1156 (N.D. Ill. 1993), which is curious because that case had been overturned by the
 Seventh Circuit, as discussed above. See Lee, 86 F.3d 101.
 22
   The court provided no discussion about why the abuse of separate victims constituted separate
 occurrences. As a result, the case has limited persuasive value.
 23
    The Church also cites a Sixth Circuit case holding that the abuse of multiple adults constituted
 a single occurrence under the terms of an insurance policy. (ECF No. 42 at 32 (citing Scott
 Fetzer Co. v. Zurich Am. Ins. Co., 769 F. App’x 322 (6th Cir. 2019)). The court discusses below
 why it finds this case unpersuasive. See infra, § I.E.

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 [the center]. Therefore, such failure must be considered the ‘occurrence’ for purposes of

 insurance liability.” Id. at 310. Although the plaintiffs had also alleged that the County

 breached its duties to monitor the center’s activities—an ongoing failure—, the Nevada Supreme

 Court’s decision focused on the County’s negligence in the licensing process. Id. at 307, 310.

 The case is therefore more like a negligent hiring case and less like a negligent supervision case.

 And even though the outcome in Washoe County diverges from the outcome the court reaches

 here, the framework is consistent. For instance, the Nevada Supreme Court’s discussion of

 Insurance Corp. of America v. Rubin is instructive. Id. at 308. In Rubin, the Nevada Supreme

 Court decided whether there were multiple occurrences in a case involving a doctor who saw the

 same patient multiple times and consistently failed to diagnose that patient’s brain tumor. 818

 P.2d 389, 392 (Nev. 1991). Noting that “Dr. Rubin made an independent evaluation upon each

 visit and different symptoms were revealed during each visit,” the Nevada Supreme Court held

 that “under the causal approach, each diagnosis was a separate ‘occurrence’ for purposes of the

 insurance policy limit.” Washoe Cnty., 878 P.d at 308 (citing Rubin, 818 P.2d at 392). In other

 words, the Nevada Supreme Court agreed that the number of occurrences under an insurance

 policy depended on the specific facts that gave rise to the insured’s liability.

         This court agrees with the Nevada Supreme Court’s finding that “‘occurrence’ should be

 defined in such a way as to give meaning to the entity’s connection to liability.” Id. at 310. But

 the negligence at issue in Washoe County was, on balance, one discrete act at the time of

 licensing. Here, by contrast, there was essentially a new act of licensing every time Mr. Jensen

 was referred for babysitting services to a new family. The court finds that the Church’s

 negligence was ongoing and specific to each victim because the Church knew about Mr. Jensen’s

 abuse and failed to act throughout each of the incidents.



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        The court therefore finds that the cases on which the Church relies are either inconclusive

 or consistent with a finding that multiple occurrences arose from the facts at issue here.

 Reviewing the relevant caselaw as a whole, the court finds a presumption that the abuse of

 multiple victims constitutes multiple occurrences under insurance policies defining “occurrence”

 similarly. See H.E. Butt Grocery, 150 F.3d at 532 (collecting cases and finding that “most courts

 that have considered the question have concluded that the sexual molestation of different

 children constitutes separate occurrences”). Courts have been willing to override this

 presumption where the insured’s negligence constitutes a discrete hiring decision (rather than

 ongoing negligent supervision) or otherwise resembles a single act because the insured received

 no warnings about the danger. See Washoe Cnty., 878 P.2d at 310; Lee, 86 F.3d at 105 (holding

 that Rhode Island courts would not treat negligent supervision as “invariably one ‘occurrence’”

 where the insured received “no danger signals”). And while courts have struggled with the

 precise contours of this analysis where there is only one victim who suffers multiple incidents of

 abuse, the broad consensus that multiple occurrences arise from the abuse of different victims

 supports the court’s finding that the policies’ definition of “occurrence” is not ambiguous as it

 applies to multiple victims.

        The Church disagrees, maintaining that the policies are susceptible to more than one

 interpretation and should be construed in favor of the insured. Before turning to these

 arguments, the court notes that much of the disagreement in this area of law stems from

 differences in how courts have labeled the theory under which they decide similar cases, even

 while reaching similar outcomes. Accordingly, the court first considers the Church’s argument

 about whether the Utah Supreme Court would employ a cause test or an effects test in the

 insurance context.



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         D. The Cause Test

         The Church argues that a finding that multiple occurrences arose due to Mr. Jensen’s

 discrete acts of abuse amounts to the inappropriate use of an “effects test” rather than the more

 conventional “cause test”:

         There are two key competing approaches for determining the number of
         occurrences for purposes of liability: (1) the “cause” approach, and (2) the
         “effects” approach. The prevailing view looks to the “cause” or “causes” of the
         damage to determine the number of occurrences. Courts that employ this “cause”
         theory consider whether there is a single cause or multiple causes for the losses
         sustained. Conversely, courts that employ the “effects” approach calculate the
         number of occurrences by looking to the effect of the accident or, in other words,
         how many individual claims or injuries resulted therefrom. The “effects”
         approach has been applied by a minority of courts.

 Donegal Mut. Ins. Co. v. Baumhammers, 938 A.2d 286, 293 (Pa. 2007).

         While the court agrees with the Church that the Utah Supreme Court would likely apply a

 cause test, not an effects test, to resolve the question of how many occurrences arose within the

 meaning of the insurance policies, the court disagrees that its approach is anything other than a

 “focus on the act of the insured that gave rise to their liability.” Id. at 295.

         A few examples will help clarify the difference between a cause test and an effects test.

 In this case, the parents of Mr. Jensen’s victims unquestionably suffered harm as a result of the

 abuse of their child or children. But the abuse suffered by C.H., for instance, is not an instance

 of multiple occurrences simply because C.H.’s parents were also harmed. If it were utilizing an

 effects test, the court would find three victims who suffered due to C.H.’s abuse, and therefore

 three occurrences. But because C.H.’s abuse arose out of one discrete incident, the court finds

 there was only one occurrence under the policy. The Church may appropriately aggregate the

 settlement amounts it paid to C.H. with the settlement amounts it paid to C.H.’s parents to

 exhaust the retained limit.



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        Similarly, the court finds that the abuse of sibling pairs who were abused during the same

 encounter constitutes one occurrence, not two. The settlement reached in this case included

 payments for the abuse of two sets of siblings: 1) brothers Z.W. and A.W. and 2) brothers J.T.

 and W.T. Mr. Jensen abused Z.W. and A.W. on multiple occasions (see W. Va. Am. Compl.

 ¶ 90), raising the more difficult question of whether each encounter was a separate occurrence.

 But focusing on the one incident in which J.T. and W.T. were abused (see id. ¶ 87), or on any

 one incident involving the W. brothers, the court finds that an episode of abuse involving

 multiple victims does not create multiple occurrences. A jury that found the Church liable for

 J.T.’s abuse, for instance, would invariably find the Church similarly liable for W.T.’s abuse.

 That finding of negligence is premised on exactly the same facts, as the abuse of both brothers

 occurred at the same time, in the same place, and during the same encounter. 24 Absent an

 extraordinary showing that an insured’s negligence caused the abuse of one victim but not

 another during an incident that involved the abuse of multiple victims, a liability-focused

 assessment of cause results in a finding that the incident constituted one occurrence. In contrast,

 a court applying an effects test would find that such an incident constituted two or more

 occurrences, depending on the number of victims.

        The court’s approach is therefore consistent with the Baumhammers case. In

 Baumhammers, the Supreme Court of Pennsylvania found that only one occurrence arose where

 the parents of Richard Baumhammers acted negligently by failing to take away Mr.



 24
   Although the court finds that the abuse of J.T. and W.T. amounts to one occurrence, the
 settlement the Church reached with these brothers and their parents (              ) is not
 sufficient to exhaust the retained limit under ACE’s policy. Similarly, even if the court found
 that the multiple instances of abuse suffered by Z.W. and A.W. amounted to one occurrence, the
 settlement amount for those brothers and their parents (           ) is below the retained limit.
 (See ECF No. 51-18.)

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 Baumhammers’s gun. Baumhammers, 938 A.2d at 291, 296. Mr. Baumhammers went on a

 shooting spree, killing five people and seriously injuring a sixth. Id. at 288. The Pennsylvania

 Supreme Court held: “Parents’ alleged negligence in failing to remove Baumhammers [sic]

 weapon and/or alerting the authorities as to his dangerous propensities is the ‘occurrence’ that

 began the sequence of events that resulted in the eventual injuries to Plaintiffs.” Id. at 296. That

 outcome makes sense as a liability-focused assessment of cause. Although there were multiple

 victims, the facts that support a finding that the parents breached their duty of care to the first

 victim are the same facts that support a finding of liability towards the other victims because the

 shooting spree occurred within the space of two hours. Id. at 288. This analysis would be

 wholly different if, having shot just one victim and returned home, Mr. Baumhammers’s parents

 had helped him escape detection (or simply failed to ask questions despite suspicious

 circumstances) and he had then shot another person several months later.

        Here, the court focuses on the facts that led to the Church’s liability—liability that

 depends on both the Church’s knowledge and inaction and Mr. Jensen’s specific acts of abuse. If

 the Church had not been negligent, it would not have been required to pay any settlement

 amounts. And if Mr. Jensen had not committed the abuse, there would have been no damage to

 begin with. It is the combination of these factors that caused the Church’s liability, not the

 Church’s negligence or Mr. Jensen’s actions alone. See Archdiocese of Portland, 35 F.3d

 at 1329 (“[I]t is the repeated ‘exposure’ of the boy to the negligently supervised priest, resulting

 in injury, that provides the basis for indemnification.”). Where the Church’s liability is premised

 on the same facts (for instance, the abuse of siblings J.T. and W.T.), the court finds one

 occurrence under the policies. But where the Church’s liability depends on different underlying




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 facts (for instance, the abuse of P.C. and the abuse of A.B., occurring roughly four years apart

 and in different locations), the court finds multiple occurrences.

        Courts have debated the appropriate theory under which they should consider insurance

 cases involving sexual abuse claims. The court finds instructive the debate noted above between

 two judges in the H.E. Butt Grocery case. One of the concurring judges on that panel, the

 Honorable Fortunato Benavides, wrote separately to state his disagreement with the framework

 under which the Honorable Emilio M. Garza decided the case: “I would hold that the appropriate

 test for counting occurrences under Texas law is a ‘liability-triggering event’ test rather than the

 ‘immediate cause’ test applied by Judge Garza.” 150 F.3d at 535. Judge Garza found that “the

 two independent acts of sexual abuse ‘caused’ the two children’s injuries and gave rise to HEB’s

 separate and distinct liability in each case.” Id. at 531. Judge Garza disagreed with Judge

 Benavides’s suggestion that “examining the ‘cause’ of the injuries and examining the events

 ‘giving rise’ to liability are mutually exclusive tests for determining the number of

 ‘occurrences.’” Id. at 530 n.2.

        This court agrees that Judge Garza and Judge Benavides utilized a cause test and not an

 effects test. Whereas Judge Garza focused on the immediate cause that injured the victims (the

 assault), Judge Benavides focused on the cause of liability from the perspective of the insured. 25

 These frameworks yielded the same result because “the events that gave rise to liability, even

 from HEB’s point of view, were the employee’s molestations of each child.” Id. at 536

 (Benavides, J., concurring). Although the two approaches will often yield the same result (and



 25
    Indeed, the courts in the cases favored by the Church and those favored by the insureds have
 all used a cause test. The real difference between these cases (whether discussed in these terms
 or not) is whether the court used an immediate cause test or some form of a liability-focused
 assessment.

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 would in the case of Mr. Jensen’s abuse), the court finds that Judge Benavides’s approach is

 more helpful to explain the outcomes in cases involving both sexual abuse and other events for

 which an insured seeks liability coverage. After all, there are various theories of liability under

 which an insured may face litigation or enter into a settlement, and importing concepts of

 causation from tort law may result in a mismatch.

        For instance, the Ninth Circuit held that separate civil rights suits based on the alleged

 use of excessive force by various police officers nevertheless involved only one occurrence

 under the relevant insurance policy. Mead Reinsurance v. Granite State Ins. Co., 873 F.2d 1185,

 1188 (9th Cir. 1988). That result is inconsistent with an “immediate cause” test, which would

 look at each precipitating use of excessive force. But the holding does follow logically after

 considering what triggered the insured’s liability. The insured was a municipality, and municipal

 liability under 42 U.S.C. § 1982 is premised on a policy or custom. See Monell v. Dep’t of Soc.

 Servs., 436 U.S. 658 (1978). As the Ninth Circuit explained:

        Liability under 42 U.S.C. § 1983 does not arise from each separate act of police
        misconduct, but the underlying municipal policy of condoning a series of similar
        police acts. Therefore, the alleged policy of condoning police brutality constitutes
        a “single occurrence” for purposes of establishing the insurer’s liability under the
        “per occurrence” clause of the respective polices.

 Mead Reinsurance, 873 F.2d at 1188.

        A “liability-triggering event” test also explains the difference between cases involving

 negligent supervision and those involving negligent hiring. See Washoe Cnty., 878 P.2d at 310.

 In both types of cases, the immediate cause of a victim’s injuries is the specific assault against

 that victim. But the events triggering the insured’s liability are different. In a negligent hiring

 case, the insured negligently failed to perform a discrete act of exercising due care and diligence

 when hiring someone who later committed abuse. In a negligent supervision case, by contrast,



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 the insured’s negligence continues to change over time, and whether the insured is liable to each

 victim depends on the specific circumstances that led to that victim’s abuse.

        This court predicts that the Utah Supreme Court would utilize a version of the cause test

 focused on the event that triggered an insured’s liability. This framework accounts for both the

 insured’s negligence and the specific act of abuse—as absent either condition, the insured would

 not be found liable and there would be no loss under the policy. But the test recognizes that,

 outside a scenario in which an insured has no notice of the abuse, the facts establishing the

 insured’s liability for negligence are distinct for each discrete act of abuse.

        E. Ambiguity

        The Church argues that, even if the court disagrees with the Church’s interpretation of the

 word “occurrence,” the term is nevertheless susceptible to multiple interpretations and therefore

 ambiguous. And under Utah law, “ambiguous or uncertain language in an insurance contract

 that is fairly susceptible to different interpretations should be construed in favor of coverage.”

 U.S. Fidelity, 854 P.2d at 522–23 (citations omitted). In support of this position, the Church

 cites a Sixth Circuit case holding that a company’s negligence in connection with the sexual

 assaults against three separate women by a company-affiliated distributor 26 amounted to only

 one occurrence. Scott Fetzer Co. v. Zurich Am. Ins. Co., 769 F. App’x 322, 328–29 (6th Cir.

 2019). Applying Ohio law, the Sixth Circuit relied heavily on a state court case stating that, “if

 an insurer wants to interpret a clause in an insurance contract so as to defeat coverage, ‘it must

 demonstrate that the clause in the policy is capable of the construction it seeks to give it, and that

 such construction is the only one that can be fairly placed upon the language.” Id. at 326 (citing


 26
   The company did not directly employ the man who committed the assaults, but its relationship
 with him “was substantial enough to motivate [the company] to enter into settlement agreements
 with the three women.” Fetzer, 769 F. App’x at 324.

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 Bosserman Aviation Equip., Inc. v. U.S. Liab. Ins. Co., 915 N.2d 687, 692–93 (Ohio Ct. App.

 2009) (emphasis added by the Sixth Circuit)). Although the Sixth Circuit noted that the insured’s

 interpretation of the contract was “semantically awkward[,]” the court found that the company

 “need[ed] only to prove its reading is a reasonable one.” Id. at 327.

        The court declines to follow the Sixth Circuit for several reasons. First, the court finds

 that the policy language is not ambiguous—at least not where there were multiple victims abused

 at separate times, and especially where the insured received warnings about the abuse.

        Moreover, even if the court were to find that the phrase “each occurrence” was

 susceptible to more than one interpretation, it is unclear what it means to interpret this language

 in favor of the insured. That is because the phrase “each occurrence” affects the amount of

 coverage under the policies in multiple ways. As noted, the policies provide for a retained limit

 of              “[e]ach [o]ccurrence[.]” (See, e.g., ECF No. 56-3 at 30.) But the policies also

 limit the amount of coverage available to a cap of “               [e]ach [o]ccurrence[.]” 27 (See,

 e.g., id. at 2 (listing the “Limits of Insurance”).) Whether a finding of one occurrence or multiple

 occurrences favors the insured therefore depends entirely on the structure of settlement

 payments. Consider an example in which the insured settles with two victims of abuse for

             each. 28 If the court found that there were one occurrence, the insured would only

 have to satisfy one retained limit (i.e., the insured would be responsible for             of the


 27
   The parties have not argued that any potential recovery for the Church must be capped at
                But it is unclear why the Church could receive an amount in excess of this limit,
 even if the court found that the multiple incidents of abuse arose out of only one occurrence. The
 Church could conceivably argue that the insurance cap only applies to bodily injury suffered
 during the policy period. But it would be inconsistent to hold that the court may apportion an
 “each occurrence” retained limit across multiple policies even though it may not similarly
 apportion an “each occurrence” insurance cap.
 28
    For simplicity, the court assumes that the abuse all occurred within the same policy period in
 this example.

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 overall               settlement). But because the policy caps the available insurance at

           , the insured would only receive               . In contrast, if the court found that there

 were two occurrences, the insured would have to satisfy two retained limits (i.e., the insured

 would be responsible for                of the overall               ). But the insurer would pay up

 to               for both occurrences, thereby paying the insured a total of                . Clearly,

 the insured would argue that the abuse constituted two occurrences in this scenario.

           The Seventh Circuit has made this point explicitly:

           [W]hat it means to construe [the definition of “occurrence”] against the author is
           itself ambiguous. Winners and losers will change with the circumstances.
           Interstate today wants to call sustained sexual abuse multiple occurrences to
           increase the number of deductibles the Diocese must cover and the number of
           contributions the primary carrier must make. But if tomorrow the victim’s loss
           exceeds the maximum coverage for a single occurrence, the roles will be reversed.
           The excess carrier would want to call the sexual abuse a single occurrence to cap
           its own exposure, while the Diocese would favor multiple occurrences in order to
           maximize its insurance coverage.

 Lee, 86 F.3d at 104; see also H.E. Butt Grocery, 150 F.3d at 535 (“[T]he cases make clear that

 whether the definition of ‘occurrence’ is favorable to the insured depends on whether the parties

 are arguing over the maximum coverage per occurrence or the number of self-insured retentions

 that must be paid.”).

           The court finds that the “each occurrence” language is not ambiguous for situations

 involving multiple victims who were abused in separate incidents. To the extent that it is unclear

 how this language should apply to multiple instances of abuse against a single victim (or

 multiple victims who were abused in the same incident), the court strives to interpret this

 language uniformly with other courts that have considered the issue and declines to adopt an

 interpretation of “occurrence” that would shift in meaning between insureds who wish to avoid

 the application of multiple retained limits and insureds who wish to avoid the application of a



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 liability cap. The court therefore need not consider the additional arguments presented by the

 insurers—namely, that the general rule to construe coverage in favor of the insured does not

 apply because a retained limit is a condition precedent to coverage and because the retained limit

 endorsement is a “manuscript endorsement” negotiated by an insurance broker on behalf of the

 Church. (See ECF No. 70 at 18–20.)

         F. Changed Language in ACE’s 2012 Policy

         ACE’s 2012 Policy, unlike the other ACE policies at issue, specifies that the retained

 limit specifically for coverage of sexual abuse and molestation claims is                 “each

 claimant.” (ECF No. 56-8 at 62.) The Church points to the changed language as a smoking gun

 to suggest that the earlier policies did not contain a retained limit for each claimant, but rather

 one retained limit for the Church’s overarching negligence. In other words, the Church suggests

 that the changed language is an admission that there was only one occurrence under the previous

 policies.

         While the court agrees that the 2012 Policy provides clarity, the reasons why ACE

 changed its policy language are not before the court. In any event, the change does not simply

 limit liability coverage, as the Church suggests. The additional language also provides less

 coverage for a scenario in which multiple victims are abused during the same encounter. For

 instance, the court has found that the Church may appropriately aggregate the settlement

 amounts paid to J.T., W.T., and their parents, as these brothers were abused during the same

 incident and their abuse constitutes one occurrence. Under the previous policies, the Church

 would have to exhaust one retained limit of                 before triggering coverage. Under the

 2012 Policy, the Church would have to exhaust at least two retained limits, as both brothers are




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 claimants (and potentially more retained limits, as the parents also suffered as a result of the

 abuse).

           Further, the 2012 Policy does not merely clarify that the retained limit applies to each

 claimant; there is also a new Sexual Abuse Coverage endorsement containing extensive

 modifications of the policies’ provisions on defense and supplementary payments, limits of

 insurance, exclusions, and definitions. (Id. at 62–66.) The court declines to interpret the

 previous ACE policies based on the Sexual Abuse Coverage endorsement of the 2012 Policy

 where that endorsement affects multiple aspects of the insurance coverage provided. For these

 reasons, the court is not persuaded that the amended language in ACE’s 2012 policy alters the

 court’s analysis of the coverage provided by the previous policies.

           G. Arguments the Court Need Not Address

           Because the court predicts that the Utah Supreme Court would find that multiple

 occurrences arose from the underlying facts, the Church failed to exhaust the policies’ applicable

 retained limits. Consequently, the Defendants did not owe the Church any duties to indemnify.

 Nor did the Defendants breach the covenant of good faith and fair dealing. And because the

 court’s holding on the number of occurrences is dispositive, the court need not discuss several

 additional arguments made by the parties.

           First, the court does not address two arguments made by National Union: 1) that the

 Church is estopped from seeking defense and indemnification under its policy; and 2) that the

 Church’s breach of the National Union policy’s voluntary payments provision bars the Church

 from seeking National Union’s indemnification. (ECF No. 50 at 20, 28.) Second, the court

 denies the Church’s requests for declaratory judgments against both defendants stating that




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 Exclusion K does not apply 29 and a declaratory judgment against ACE stating that its known loss

 or loss in progress doctrines do not preclude coverage. (ECF No. 42 at 30–38.) Third, the court

 need not decide whether A.W., who was forced to watch the abuse of his brother, also

 experienced “bodily injury” under ACE’s policy. (ECF No. 68 at 28–30.) Even if the court

 aggregates all settlement amounts received by A.W., his brother, and his parents, the Church did

 not exhaust the applicable retained limit.

        Finally, the court does not address the Church’s theory of apportionment based on PECO

 and other cases. While that theory may be useful where the court finds that bodily injuries

 stemming from one occurrence span multiple policy periods, the court has found there were

 multiple occurrences here.

        H. Conclusion

        Based on the umbrella policies’ language, the underlying facts, and relevant caselaw, the

 court predicts that the Utah Supreme Court would hold that multiple occurrences arose from the

 underlying claims against the Church. Once the Church had knowledge that Mr. Jensen posed a

 risk of abuse to Church members, the Church had a duty to its members to prevent the abuse.

 The Church had multiple opportunities to act and failed to do so. Accordingly, there was a

 distinct occurrence under the policies each time Mr. Jensen abused a child or pair of siblings.

 And because the Church did not exhaust its retained limit for any of these occurrences, the

 insurers had no duty to indemnify the Church for any settlement payments.




 29
    National Union’s Exclusion K states: “This insurance does not apply to Bodily Injury and
 Property Damages expected or intended from the standpoint of the insured ….” (ECF No. 56-2
 at 10.) ACE’s policies provide that the insurance does not apply to “K. ‘Bodily injury’ …
 expected or intended from the standpoint of the ‘insured.’” (ECF No. 56-3 at 11.)

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      II. Exhaustion under National Union’s Policy

         Even if the court rules that multiple occurrences arose under the relevant policies, the

 Church argues that it has nevertheless exhausted its policy with National Union. The Church

 maintains it may apply payments made as the result of “auto liability” claims to exhaust National

 Union’s                retained limit for “general liability coverage.” Specifically, the Church

 asserts that it paid             to resolve auto liability claims (see Claims Paid Between 2006–

 2007, Ex. 25 to Klie Decl., ECF No. 51-25), and that it may combine that payment with the

              payment made to settle P.C.’s claims to satisfy National Union’s retained limit for

 general liability coverage.

         National Union’s policy, in pertinent part, provides that:

         Z. Retained Limit means the applicable limit(s) listed in the Schedule of Retained
         Limits. The Retained Limit(s) listed in the Schedule of Retained Limits will
         apply whether or not there is any available Scheduled Underlying Insurance or
         Other Insurance … 30

         The above Retained Limit may be reduced or exhausted by:

         1) Any payment by or on behalf of the Insured of loss that would be insured by
         our policy within the above Retained Limits, and/or

         2) Any payment by any insurer under any policy[] of insurance available to the
         Insured of Loss that would be insured by our policy within the above Retained
         Limits. However, this provision does not apply to any policy of insurance
         specifically purchased to be in excess of this policy.

 (ECF No. 56-2 at 65.) National Union’s Schedule of Retained Limits lists the “Retained Limit”

 for each type of coverage under the policy, with separate entries and limits for Auto Liability and

 General Liability. (Id. at 67.) The retained limit for auto liability notes that it applies per

 “combined single limit.” (Id.)


 30
   The availability of any “Scheduled Underlying Insurance or Other Insurance” is not an issue
 before the court.

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        Under the policy’s plain terms, the Church cannot mix and match applicable retained

 limits from its Auto Liability policy with its General Liability policy. Coverage for the minor

 plaintiffs’ injuries depends on the exhaustion of the General Liability retained limit under

 National Union’s policy:                per occurrence. The General Liability retained limit may

 only be reduced or exhausted by “any payment by or on behalf of the Insured of loss that would

 be insured by [National Union’s] policy within … [that] [l]imit[.]” But that limit is “the

 applicable limit[],” not other retained limits that the policy lists. Id. In other words, the Church

 cannot apply damages payments made to resolve auto liability claims— subject to the auto

 liability retained limit, which limits coverage on a “combined single limit”—to exhaust the

 retained limit for general liability coverage.

        The Church’s reliance on Indemnity Insurance Co. of North America v. W & T Offshore,

 Inc. to support its interpretation of National Union’s policy is misplaced. 756 F.3d 347, 349 (5th

 Cir. 2014). The issue in W & T Offshore was not whether an insured party could exhaust a

 policy’s “each occurrence” retained limit by using payments made for injuries subject to a

 separate retained limit. Rather, the parties in that case disputed whether the four umbrella

 policies at issue took effect. The umbrella policies defined “Retained Limit” as “the greater of

 (1) the amount of underlying insurance or (2) the amount of [the self-insured retention] that is

 not covered by the underlying insurance.” Id. at 353. The greater amount—the applicable

 retained limit—was the “total of the applicable limits of the underlying policies listed[:]”

 $161 million dollars. Id. The umbrella policies did not qualify how the retained limit for the

 underlying/primary insurance policies “must be paid or that it must be met with claims covered

 under the Umbrella Policy; it simply states that it must be met.” Id. at 354. The Fifth Circuit

 sided with the appellee, W & T Offshore, and held that the umbrella insurance policies took



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 effect once all underlying/primary insurance was exhausted, no matter how that exhaustion

 occurred, because “[n]othing in the text of the Coverage provision or the definition of the

 Retained Limit specifies how the $161 million ‘limit’ … must be reached or states that the

 Retained Limit refers exclusively to sums covered by the [u]mbrella [p]olic[ies].” Id. at 352–53.

 National Union’s policy is distinguishable from the policies in W & T Offshore because National

 Union’s policy specifies how the applicable retained limit must be met: through the General

 Liability coverage (and not the combined General Liability and Auto Liability coverage).

           Accordingly, the Church’s alternative argument that it exhausted the retained limit in

 National Union’s policy fails. The retained limit for losses arising out of the Church’s

 negligence in a sexual abuse claim cannot be reduced by the retained limit for an Auto Liability

 policy.

   III. Duty to Defend

           The Church seeks a declaratory judgment from the court stating that National Union

 and ACE owed the Church a duty to defend against the underlying lawsuit, thereby seeking

 reimbursement for its defense costs. National Union and ACE argue that their duties to defend

 never arose because the Church did not exhaust the retained limits set forth in the policies. (ECF

 Nos. 47 & 50.)

           When conducting a duty-to-defend analysis, the Utah Supreme Court looks at the

 insurance policies and the underlying complaint. Benjamin v. Amica Mut. Ins. Co., 140 P.3d

 1210, 1214 (Utah 2006). “To avoid the duty to defend, … the insurer must show that none of the

 allegations of the underlying claim[s] [are] potentially covered [under the relevant insurance

 policy] (or that a policy exclusion conclusively applies to exclude all potential for such




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 coverage).” Owners Ins. Co. v. Greenhalgh Planning & Devel., Inc., No. 22-4008, 2023 WL

 4994512, at *2 (10th Cir. Aug. 4, 2023) (citation omitted) (applying Utah law).

        Because the duty to defend is contractual, the court’s analysis begins with the policies.

 See Benjamin, 140 P.3d at 1214. National Union’s policy provides that it “will have the right

 and duty to defend any Suit against the Insured that seeks damages for Bodily Injury … covered

 by this policy, even if the Suit is groundless, false or fraudulent when the applicable limits listed

 in the Schedule of Retained Limits have been exhausted by payment of Loss to which this policy

 applies.” (ECF No. 56-2 at 75 (emphasis added).) ACE’s policies similarly provide that:

        Whenever any ‘insured’s’ ‘retained limit’ applies, [ACE] shall not be obligated to
        defend or assume charge of the investigation or of the settlement or defense of
        any ‘suit’ brought against the ‘insured.’ However [ACE] shall have the right and
        be given the opportunity to be associated in the defense and trial of any ‘suits’
        relative to any ‘occurrence’ which, in [ACE’s] opinion, may create liability on
        [ACE’s] part under the terms of this policy.

        [ACE] will assume charge of the settlement and defense of any ‘suit’ brought
        against the ‘insured’ to which this policy applies and to which no ‘insured’s’
        ‘retained limit’ stated above applies because of the exhaustion of the applicable
        limits.

        If [ACE] assumes any right, opportunity or obligation, [ACE] shall not be
        obligated to defend any ‘suit’ after the applicable limits of this policy have been
        exhausted.

 (ECF No. 56-3 at 31 (emphasis added).) 31

        As discussed above, the underlying plaintiffs have not alleged claims potentially covered

 by the policies because, regardless of whether the plaintiffs could prove the allegations against

 the Church, no coverage was due under the policies until the Church exhausted the policies’



 31
   The duty to defend language of ACE’s 2010 policy differs from the duty to defend language in
 the other ACE policies at issue. That policy directs that ACE’s duty to defend and indemnify
 applies when “the applicable limits listed on the Schedule of Retained Limits have been
 exhausted by payment of ‘loss.’” (ECF No. 56-5 at 46.) This difference is immaterial.

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 applicable retained limits. As prescribed by the policies, the insurers’ duties to defend never

 arose because the Church did not exhaust the retained limits for general liability coverage.

        Consequently, the Church is not entitled to a declaratory judgment stating that the

 insurers had duties to defend.

                                              ORDER

        The court predicts that the Utah Supreme Court would hold that multiple occurrences

 arose from the underlying facts. The insurers did not owe the Church a duty to defend or

 indemnify under any implicated policy. As a result, National Union and ACE did not breach

 their contractual obligations to the Church under any policy or the implied covenants of good

 faith and fair dealing inherent in the contracts they entered into with the Church. For these

 reasons, the court ORDERS as follows:

        1.        The court DENIES the Church’s motions for partial summary judgment (ECF

 Nos. 42 & 43).

        2.        The court GRANTS National Union’s and ACE’s motions for summary judgment

 (ECF Nos. 47 & 50).

        DATED this 28th day of March, 2025.

                                                       BY THE COURT:


                                                       ______________________________
                                                       Tena Campbell
                                                       United States District Judge




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